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Counsel for Objectors Frankfother and Flanagan

                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                           SAN FRANCISCO DIVISION

IN RE: FACEBOOK BIOMETRIC            )           Master File No. 3:15-cv-3747-JD
INFORMATION PRIVACY LITIGATION )
                                     )           CLASS ACTION
_____________________________________)
                                     )       OBJECTION OF CLASS MEMBERS
This Document Relates to:            )       DAWN FRANKFOTHER AND
ALL ACTIONS                          )       CATHY FLANAGAN TO
                                     )       PLANTIFFS’ MOTION FOR FINAL
                                     )       APPROVAL OF SETTLEMENT, AND
                                     )       PLAINTIFFS’ MOTION FOR
                                     )       ATTORNEYS’ FEES, EXPENSE,
                                     )       AND INCENTIVE AWARDS,
                                     )
_____________________________________)       Hearing date: Jan. 7, 2021, 10:00AM


                                    OBJECTION

           I. INTRODUCTION AND OBJECTION PREREQUISITES

A.     Introduction

       In the captioned matter, class members Dawn Frankfother and Cathy Flanagan

hereby object to the PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF
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SETTLEMENT, and PLAINTIFF’S MOTION FOR ATTORNEYS’ FEES, EXPENSES,

AND INCENTIVE AWARDS on the following grounds:

      (1)      The Motion for Final Approval of Settlement (“Settlement”) proposes an

      unreasonable compromise of statutory damages available to class members

      pursuant to Illinois’s Biometric Information Privacy Act (“BIPA”) at 740 ILCS

      14/20.

      (2)      By their Motion for Attorneys’ Fees, Expenses, and Incentive Awards (“Fee

      Motion”) Class Counsel seek a common fund percentage fee of $110,000,000 out

      of a mega-fund settlement of $650,000,000. The sought fee is equal to 20% of the

      $550 million amount originally negotiated by Class Counsel, and substantially

      exceeds a reasonable common fund fee in this case.

      (3)      The Settlement proposes to compromise for $650 million the collective

      claim of class members’ for statutory damages of between $10 billion and $47

      billion, a compromise of between 93.5% and 98.6%. Hrg. Transcript, ECF 460, p.

      10, l. 9. The very modest percentage recovery does not warrant a percentage fee

      equivalent to a 5.3 lodestar multiplier.

      (4)      BIPA itself provides a fee shifting mechanism that allows for recovery of

      attorneys’ fees. 740 ILCS 14/20. In fee shifting cases, the fee is intended to be

      borne by the defendant, and the fees would ordinarily be in the amount of Class

      Counsel’s lodestar, with a multiplier employed only in extraordinary

      circumstances. Here, the class is being asked to pay the fee, and the recovery of

      only a very low percentage of available statutory damages does not support the use

      of a multiplier.




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       (5)     Class Counsel’s lodestar calculation includes thousands of hours spent by

       office personnel designated as “litigation support,” “summer associate,” “document

       clerk,” “client/class member relations,” “paralegal,” and “managing clerk.” The

       lodestar attributable to these office personnel totals $783,767.50, which using the

       sought 5.3 multiplier would itself account for “fees” of $4,153,977.75. 1 The

       amount actually paid on an hourly basis by Class Counsel to these office personnel

       is a modest fraction of the “rate” being charged the class. 2 The “rates” indicated

       in Class Counsel’s lodestar calculation already have built-in multipliers, and when

       subjected to the requested lodestar multiplier of 5.3 would provide Class Counsel

       with an effective profit on the cost of these office staffers of up to 3,400%. 3 Though

       inclusion of these common overhead expenses in Class Counsel’s lodestar is itself

       objectionable, the application of a lodestar multiplier to the expenses creates an

       outrageous windfall to Class Counsel.

       (6)     The Fee Motion seeks incentive awards for named plaintiffs, which awards

       have no statutory basis and are inconsistent with controlling authority established

       by Trustees v. Greenough, 105 U.S. 527 (1882) and Central Railroad & Banking

       Co. v. Pettus, 113 U.S. 116 (1885).


1
 This amount does not include $87,932 for a “Project Attorney” at a rate of $425/hour
charged by the Robbins Geller firm. ECF 499-4, p. 9 of 79.
2
  The hourly rates charged to Class Counsel’s lodestar for their office staff range from $100
to $335.
3
 E.g. The hourly mean wage for a paralegal in San Francisco is $34.31. U.S. Bureau of
Labor Statistics, Occupational Employment and Wages, May 2019, 23-2011 Paralegals
and Legal Assistants. See Exhibit B, attached. ((($335/hr. charged - $45 burdened cost =
$290/hr. profit) ÷ $45 burdened rate = 6.44 ) x 5.3 multiplier = 34.13 gross multiplier) x
100 = 3,413% profit.


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B.     Class Membership/Standing

       Objector Dawn Frankfother meets the definition of membership in and is a member

of the certified Class in the captioned matter. ECF 468, p. 10-11, ¶ 1.7. She has submitted

a claim in the proposed settlement and has been assigned Claim Number FBY-

100018208501. See Exhibit A. As a Class Member, Dawn has standing to object to the

proposed settlement, and the Fee Motion, including without limitation as to Class

Counsel’s sought fee and named plaintiffs’ sought service awards. Ms. Frankfother’s

objection applies to the entire class per FRCP Rule 23(e).

       Objector Kathy Flanagan meets the definition of membership in and is a member

of the certified Class in the captioned matter. ECF 468, p. 10-11, ¶ 1.7. She has submitted

a claim in the proposed settlement and has been assigned Claim Number FBY-

113777736001. See Exhibit A. As a Class Member, Cathy has standing to object to the

proposed settlement, and the Fee Motion, including without limitation as to Class

Counsel’s sought fee and named plaintiffs’ sought service awards.         Ms. Flanagan’s

objection applies to the entire class per FRCP Rule 23(e).

C.     Objectors’ Personal Contact Information

       Dawn Frankfother:      14903 W. Eagle Point Road, Polo, IL           61064; email:

       dfrankother@yahoo.com; telephone: (815) 716-1400. (Note: Dawn Frankfother

       should be contacted through her legal counsel. See below.)

       Cathy Flanagan:      625 Blackberry Ridge Drive, Aurora, IL 60506; email:

       cflanag@sbcglobal.net; telephone: (331) 301-6030. (Note: Cathy Flanagan should

       be contacted through her legal counsel. See below.)




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D.     Identification of Objectors’ Counsel

       Objectors are represented by attorneys Kendrick Jan and John Pentz. Attorney Jan

is licensed to practice law in the State of California and a member of the bar of the United

States District Court, Northern District of California; his contact information is: Kendrick

Jan, Attorney, Kendrick Jan, APC, 402 West Broadway, Suite 1520, San Diego, California

92101; telephone: 619.231.7702. Attorney Pentz is licensed to practice law in the State of

Massachusetts and the Ninth Circuit, and is seeking admission to the United States District

Court, Northern District of California, pro hac vice in the captioned matter; his contact

information is: John Pentz, Attorney, 18 Widow Rites Lane, Sudbury, Massachusetts,

01776; telephone: 978.261.5725. (Note: This objection is prepared and submitted with

assistance of counsel.)

E.     Notice of Intent to Appear at Fairness Hearing

       Objectors Dawn Frankfother and Cathy Flanagan intend to appear through counsel

at the January 7, 2021 final approval hearing (“Fairness Hearing”) to provide perspective

and argument in support of this objection.

F.     Objectors Do Not Intend to Call Witnesses

       Objectors Dawn Frankfother and Cathy Flanagan do not intend to call witnesses at

the January 7, 2021 Fairness Hearing.

                                  II.     ARGUMENT

A.     The $650 million settlement represents at least a 93% discount in a case that
       has overcome all substantial legal defenses, and therefore is not fair,
       reasonable, or adequate.

       1.      Value relative to statutory damages. A $650 million settlement in a case

that has a potential value of between $10 billion and $47 billion – calculated based on per




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class member statutory damages of between $1,000 for negligent violations and $5,000 for

intentional violation of BIPA – is inadequate to satisfy the Rule 23 (e) standard. Having

survived motions to dismiss based on lack of standing and extraterritorial application, and

an appeal of this Court’s certification of the class, there is nothing left to do in this case but

try it, with a substantial likelihood of recovery of minimum statutory damages of $10

billion, plus attorneys’ fees.

        Facebook seems to point to “consent” as a plausible defense to its compound

statutory violation, 4 but BIPA requires more than the consent of Facebook users, it requires

certain affirmative conduct by Facebook that was never performed. 5

        The compromise of statutory damages by more than 93% ought not to be approved;

the proposed recovery amount is not at all proportionate to Facebook’s misconduct when

measured against the governing BIPA statutory standard.

        The settlement must be evaluated in terms of the risks posed by a trial on the merits.

Facebook knew scanning and algorithmic processing of photographs through their “Tag

Suggestions” function implicated BIPA protections, had a thorough grasp of what

constitutes facial geometry, was fully aware of its obligation to inform regarding collection,

standards of use and retention of biometric data, and understood its obligation to obtain


4
  The more “technical” argument that Facebook didn’t use “facial geometry” in its facial
identity mapping of class members is frivolous. Facebook would never have agreed to pay
$5 billion through an FTC consent decree if there were any question about its use of facial
geometry in its collection of biometric data.
5
  BIPA disallows a private entity from collecting/using “biometric information,” unless it
first informs the subject the biometric information is being collected, informs the subject
of the purpose of the collection, and receives a written release from the subject. BIPA, 740
ILCS 14/15(b). The entity must also develop a publically available written policy
“establishing a retention schedule and guidelines for permanently destroying biometric
identifiers and biometric information.” BIPA, 740 ILCS 14/15(a).



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advance consent from users. Facebook has a market cap of over $720 billion, and

dominates the world of social data and social-data exchange. It knows more about

applicable law and pending legislation than any entity on the planet, and it shouldn’t be

allowed to hide behind some thin veil of claimed ignorance.

       Objector contends Facebook’s defenses to BIPA violations warrant no more than a

50% discount of minimum statutory damages for negligent violation of BIPA. In these

circumstances, failure to garner something near the aurea mediacritis compels rejection of

the Settlement. Anything less cannot match the class members’ interest in going to trial

with a significant chance of recovering greater than 15 times the proposed settlement

amount. 6

       2.      The higher per claim payout is an inverse function of inadequate notice.

       If the parties had achieved a claim rate of 90%, as urged by this Court, the average

payout would be only $72. The projected claim payout figure has more than quadrupled

due to a claim rate of less than 20%. Due to the low take rate, when considering the

adequacy of the proposed settlement, the Court should focus on the amount recovered per

class member, rather than the average claim payment.

       3.      Settlement lacks deterrent effect.

       Facebook has committed an obvious statutory violation through their active non-

consensual collection and commercial exploitation of personal biometric data. The Illinois

legislature “has said loud and clear this is meant to be an expensive violation. The Illinois

legislature set this privacy expectation and privacy right as a serious one, and they put a




6
 Minimum statutory damages of $10 billion for Facebook’s negligent BIPA violation is
greater than 15.3 times the proposed settlement amount of $650,000,000.


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high price tag on it for that reason.” Hrg. Transcript, ECF 460, p. 7, l. 1-5. A recovery of

only 1.4%-6.5% of available statutory damages is a dramatic “reduction from the thousand

dollars that the Illinois legislature set as the baseline.” Hrg. Transcript, ECF 460, p. 6, l.

21-23.    The very low recovery-to-damages ratio, coupled with Facebook’s knowing

conduct and financial wherewithal, speak to both the inadequacy of the proposed settlement

and the parties’ clear disregard Illinois “loud and clear” intentions regarding Facebook’s

privacy violations.

         The proposed settlement would establish a very modest precedent that neglects

statutory protective enforcement standards, and would be of no real deterrent effect among

Facebook and its peers.

         4.     Due Process concerns.

         Finally, Facebook’s voluntary $5 billion payment in the FTC action would appear

to undermine any argument that a $10 billion verdict for violation of BIPA constitutes a

violation of due process. If Facebook could pay $5 billion to resolve the FTC enforcement

action, it could certainly find a way to pay $5 billion to settle this lawsuit in which all

significant legal questions had been resolved in favor of the Plaintiffs.

B.       Class Counsel should receive less than the average 12.9% percentage fee in
         megafund recoveries of $550 million or more.

         1.     Class Counsel’s negotiation.

         Class Counsel’s work resulted in an originally proposed settlement of $550 million.

Two weeks after this Court voiced its concerns over that relatively small proposed

settlement amount, the parties returned with a $100 million cherry atop the single scoop

$550 million settlement sundae. Recognizing it was the Court’s prompting that brought

the additional $100 million to the proposed settlement, Class Counsel have not changed



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their $110 million fee request – equivalent to 20% of the deficient $550 million first

presented.

       2.       The sought percentage fee is excessive.

       Class Counsel ask this Court to award an excessive percentage fee for securing an

unsatisfactory settlement. The fee in this case should be governed by In re: Wash. Pub.

Power Supply Sys. Secs. Litig., 19 F.3d 1291 (9th Cir. 1994), another megafund case in

which the Ninth Circuit upheld the district court’s refusal to approve a 13.6% fee that would

have represented an excessive multiplier.

       We agree with the district court that there is no necessary correlation
       between any particular percentage and a reasonable fee. With a fund this
       large, picking a percentage without reference to all the circumstances of the
       case, including the size of the fund, would be like picking a number out of
       the air…[W]e agree with the district court that the 25 percent “benchmark”
       is of little assistance in a case such as this… It is not difficult to demonstrate
       why courts cannot rationally apply any particular percentage – whether 13.6
       percent, 25 percent or any other number – in the abstract, without reference
       to all the circumstances of the case.

Id. at 1297-1298.

       A $550 million class action settlement is a megafund recovery requiring that a

percentage fee be substantially less than this Circuit’s benchmark 25%. In arriving at a

reasonable fee, it must be considered that this case settled for a small fraction of the readily

calculable statutory value just a year after plaintiffs scored a complete legal victory at the

Ninth Circuit. In light of the legal strength of this case after August 8, 2019, Class Counsel

did a notably poor job negotiating a settlement on behalf of the class, leaving approximately




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$9.4 billion 7 on the table. For this, a percentage fee at the lower end of the megafund range

for settlements above $500 million is appropriate.

       Class Counsel’s fee should not exceed 10%, which is just below the market rate for

a settlement of this size, according to Brian Fitzpatrick. See An Empirical Study of Class

Action Settlements and Their Fee Awards, at p. 839 (mean percentage fee for settlements

between $500 million and $1 billion is 12.9). A 10 % fee here results in a fee of $55

million, which still represents a more than generous 2.76 multiplier of Class Counsel’s

$19.9 million lodestar. 8

       3.      The inadequate claim rate.

       The Court has expressed its expectation that the claims rate would be at least 90

percent. 9 As of November 10, only 1,311,035 claims had been received, which is only

13% of the estimated 10 million class members. ECF 503, p. 2. This claim rate clearly

indicates the inadequacy of the notice plan assembled and put into play by Class Counsel

and Facebook – the one entity in the entire world that could almost certainly get notice to

every class member. The inefficacy of the notice plan, as evidenced by the low take rate,

is a further justification for a fee of no more than $55 million in this case.




7
  Objector calculates this figure based upon the $1,000 per violation statutory damages. If
the liquidated damages for intentional violations were used, the discount would be $46.5
billion.
8
 This number is the gross claimed lodestar of $20,702,829 million less $787,767 (staff
expenses), which equals a $19,914,0462 million adjusted lodestar.
9
  “There is no reason, there is no reason why we ought to be settling for anything less than
a 90 percent claim rate.” ECF 460, p. 32, l.1-2.


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       4.      Extra-litigation efforts.

       Class Counsel state “a legislative strategy is now an integral part of prosecuting a

large class action based on a statutory claim.” Fee Brief, ECF 499, p. 21. Class Counsel

have included in their lodestar calculations time spent to “educate legislators,” “coordinate

efforts by like-minded non-profit organizations,” and “generally ensure that Class

Members’ voices were heard.” This time is not properly included in a request for fees to

be paid by the Rule 23(b)(3) damages class. Objectors Frankfother and Flanagan ask that

the Court order that hours Class Counsel spent as legislative lobbyists and non-profit

coordinators be removed from the Class Counsel’s lodestar.

       5.      Trial on the merits and fee shifting.

       Class Counsel were weeks from trial on the merits of this case. Had Class Counsel

prevailed at trial the fee shifting mechanism of 740 ILCS 14/20 would have imposed on

Facebook the obligation to pay Class Counsel a reasonable attorneys’ fee. In a fee shifting

case a “reasonable fee” is measured from the perspective of the defendant. Pennsylvania

v. Delaware Valley Citizens’ Council for Clean Air, 438 U.S. 711, 724-725 (1987). See

also Fresno County Employees’ Retirement Assoc. v. Isaacson/Weaver Family Trust, 925

F.3d 63, 70 (2d Cir. 2019). Once a common fund settlement is negotiated, however, the

“reasonable fee” is calculated from plaintiff’s perspective, allowing for examination of

risk, contingency of fees, quality of recovery, etc. Id. at 71. Here, the case very recently

switched from a litigation track to a settlement track, and Class Counsel ask the Court to

award them fees approximately 400%-450% more than would have been awarded had they

recovered a dramatically greater money judgment at trial only a few weeks later. With




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settlement the risk was resolved, the contingency fee is certain and soon to be paid, and the

quality of recovery is insufficient to justify the fee request.

        In the 9th Circuit, “In a common-fund case, the district court “has discretion to

apply either the lodestar method or the percentage-of-the-fund method in calculating a fee

award.” Fischel v. Equitable Life Assurance Soc'y, 307 F.3d 997, 1006 (9th Cir.2002).

Under the former method, the district court “multiplies a reasonable number of hours by a

reasonable hourly rate.” Id. at 1006. “There is a “strong presumption” that the lodestar is

a reasonable fee.” Id. at 1007, citing D’Emanuele v. Montgomery Ward & Co, 904 F.2d

1379 (9th Cir. 1990).

        “The district court also has discretion to adjust the lodestar upward or downward

using a multiplier that reflects “a host of ‘reasonableness' factors, including the quality of

representation, the benefit obtained for the class, the complexity and novelty of the issues

presented, and the risk of nonpayment.” In re Bluetooth Headset Prods. Liab. Litig., 654

F.3d 935, 941–42 (9th Cir.2011). Stetson v Grissom, 821 F3d 1157, 1166-67, (9th Cir.

2016). Frankforther and Flanagan ask the Court to employ the lodestar method, with the

application of only a modest, if any, multiplier.

        6.      Lodestar cross check.

        Instead of a reasonable fee for their modest work, Class Counsel have requested a

fee of $110 million, which represents 550% of their lodestar.

        While Class Counsel argue that a lodestar cross-check is not required in this Circuit,

such effort in fee analysis is strongly encouraged, and, in the very case they cite for the

proposition, Judge Kleinfeld in his dissent urged the Ninth Circuit to adopt a rule requiring

such cross-checks, citing the support of seven attorneys general. See Farrell v. Bank of




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Am. Corp. N.A., 2020 U.S. App. LEXIS 27980 at *18 (9th Cir. September 2, 2020)

(Kleinfeld dissenting).

       In light of the extremely low ratio of the settlement recovery to statutory damages,

Class Counsel’s willingness to close this case for a less than a fair recovery of damages,

and the inexplicably low claims rate, Class Counsel do not deserve a common fund

percentage fee equal to 550% of their lodestar. Further, Class Counsel cannot demonstrate

the class would be unjustly enriched by the award of a lesser – and fair – attorneys’ fee.

To the contrary, Class Counsel are hard pressed to justify the 2.76 multiplier represented

by a $55 million fee.

C.     The requested incentive awards are prohibited preferential payments to
       named plaintiffs that create a conflict between the named plaintiffs and absent
       class members.

       1.      Unavailability of incentive awards.

       In their Fee Motion, Class Counsel have requested class representatives receive

“incentive awards” of $7,500 each. Class Counsel assert that incentive awards of $5,000

or less are “presumptively reasonable,” and ask for a cost of living adjustment to that figure.

ECF 499, p. 28. While such awards have become common in the Ninth Circuit and

elsewhere, the United States Court of Appeals for the Eleventh Circuit recently clarified

that such awards are without authorization from the United States Supreme Court, and

therefore are and have always been improper. See Johnson v. NPAS Sols. LLC, 2020 U.S.

App. LEXIS 29682 (11th Cir. Sept. 17, 2020). As the Eleventh Circuit put it, the ubiquity

of incentive awards is the product of “inertia and inattention,” and “we are not at liberty to

sanction a device or practice, however widespread, that is foreclosed by Supreme Court

precedent.” Id. at *27.




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       The two cases that originally authorized recovery of attorneys’ fees from a common

fund, Trustees v. Greenough, 105 U.S. 527 (1882) and Central Railroad & Banking Co. v.

Pettus (1885), prohibit recovery of any amounts by the named plaintiff himself for personal

services and private expenses. Johnson at **21-22. These seminal cases have been

ignored by modern courts when rationalizing the grant of incentive awards, whether given

as a bounty for obtaining a settlement, remuneration for hours spent on litigation tasks, or

compensation for reputational risk. None of these reasons, however, can justify a violation

of Greenough or Pettus.

   While there are Ninth Circuit decisions upholding incentive or service awards to lead

class action plaintiffs, those decisions must yield to the controlling Supreme Court

precedent as construed by the Eleventh Circuit in Johnson. Just as with the decision of the

Second Circuit cited by the Johnson court in footnote 8 of its opinion, id. at *25, the

decisions of the Ninth Circuit are unpersuasive because they do not grapple with

Greenough and Pettus, nor do they cite to any authorization for or origin of such awards.

They simply blindly imitate what other courts have done without examining whether the

first court to do so had any authority for these awards that have been “created out of whole

cloth.” Id. at *27. See also In re Dry Max Pampers Litig., 724 F.3d 713, 722 (6th Cir.

2013) (“To the extent that incentive awards are common, they are like dandelions on an

unmowed lawn – present more by inattention than by design.”).

       2.      Divorced interests.

       The proposed $7,500 incentive awards are 18 times the expected claimant recovery

of $400, and 104 times the average class member recovery of $72. Such payments divorce

the named plaintiffs’ interests from the interests of absent class members. The request for




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the incentive awards represents an attempt to secure preferential payments for the named

plaintiffs, which renders the named plaintiffs conflicted and inadequate to represent the

absent class members. Therefore, unless the requests for service awards are withdrawn,

the settlement class may not be certified for lack of adequacy, and the settlement must be

rejected on this ground alone.

                                 III.   CONCLUSION

       For the foregoing reasons, this Court should (1) deny approval to the proposed

settlement, (2) award Class Counsel a fee of no more than $55 million, and (3) deny the

requested incentive awards to the named plaintiffs.

                                             Respectfully submitted,
                                             Dawn Frankfother and Cathy Flanagan
                                             by their attorneys,

                                             s/ Kendrick Jan
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                            CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing was filed with the Clerk of Court
using CM/ECF on November 20, 2020, and as a result has been served on all counsel of
record via transmission of Notices of Electronic Filing generated by CM/ECF.


                                                     By: s/ Kendrick Jan
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                               Find messages, documents, photos or people                                                                               Home




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Inbox               999+          Confirmation of receipt of your online                     Yahoo/Inbox
                                  Facebook Biometric Information Privacy
Unread
                                  Litigation class action claim
Starred

Drafts                                   donotreply@kccllc.com                      Sun, Nov 15 at 9:33 PM
                                         To: dfrankfother@yahoo.com
Sent

Archive
                                  Thank you for filing your claim online on 11/15/2020 10:33:33 PM.
Spam                                                                                                                            Comfort All Day Every Day
                                  Your Claim Number is: FBY-100018208501
Trash
                                  Please retain this information in your records and use the Claim Number in any com
  Less                            KCC regarding this case.

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